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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI, DIVISION

                              Case No: 19-24184-CIV-Cooke/Goodman


     JAMES BUCKMAN et.al.,

     Plaintiff

     V.

     LANCASTER MORTGAGE CO., et al.,

     Defendants

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          PLAINTIFFS RESPONSE TO DEFENDANTS MOTION TO STRIKE


     COMES Now Plaintiffs with motion to answer defendants motion to strike, we did
     respond on time we put a motion to reconsider 1/1 7/20 and the Judge never denied
     our motion to reconsider we Recieved the motion from the defendants late their was a
     problem with the mail because we the plaintiffs had a because the police would not
     allow us in the property illegaly without any eviction so we had to change our mailing
     address and also the motion did not show up on the docket till the 1/ 24/20, we found
     out when we came into the federal building to enter a change of address into the files
     is when we at the same time discovered the motion from Deutsche Bank was entered
     in the files on that day which is why our answer was turned in at the time it was,
     Amazingly this uncouth thieving Lawyer wants our answer to their late answer to be
     Dismissed for being socalled late for the same reasons that they begged this Judge for
     time but don't want us to have the same rights. So if you find that we were late
     please afford us time like you gave them time. And we also have a newly discovered
     that we must now add Judge Del La O the Judge of this County Court case to the Law
     Suite because the Judge on this case ordered in favor of Deutsche Bank but this Judge
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      De La O has a horrible known Conflict of interest because he's in business with
      Deutsche Bank which can't be done in violation of Fla. Stat, 112.312 (8)(9) and we
      we have proof of that that Judge is stealing our property, we are suing you Deutsche
      Bank because in State Court we didn't get a chance to explain all that happened, the
      real owners Leroy williams, James Buckman, Tanner Carter and Alexander Morera
      did not go to the closing so Deutsche bank can't and don't have a Note to foreclose on
      and we are the people that2007 own that property and is doing this law suite as people
      who nothing to do with the Fake case #-18226 CAOl. We are the true owners who
      never sold the property to Leroy Williams using Lancaster Bank LLC who
     fraudulently Assigned it to Deutsche Bank. These facts are true and real and must not
      go unpunished And for all the other reasons they used to dismiss our real case with
      prejudice is covered by the fact that we are third parties to the foreclosure case
      #-18226 CAOl. Deutsche Bank V. Leroy Williams according to federal 14 (a) (2) (5),
      and florida courts third party claims have a right to be heard. At f o /Jl,~tJc/f;mc /ll'P'il'A-
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